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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

RAYMOND LOFSTAD and GUS                             No. 3:22-cv-07360-RK-TJB
LOVGREN,
                                                 PLAINTIFFS’ MOTION TO
                                  Plaintiffs,
                                                 EXPEDITE PROCEEDINGS
       v.
GINA RAIMONDO, in her official
capacity as Secretary of the United States      Courtroom 4E
Department of Commerce; JANET COIT,             Judge: Robert Kirsch
in her official capacity as Assistant           Magistrate: Tonianne J. Bongiovanni
Administrator for the National Marine           Motion Day: August 7, 2023
Fisheries Service; and NATIONAL
MARINE FISHERIES SERVICE,
                               Defendants.
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       Plaintiffs Raymond Lofstad and Gus Lovgren have filed a petition challenging

the issuance by the Secretary of Commerce, through her delegate the National Marine

Fisheries Service, of a final rule (“Rule”) implementing Amendment 22 to the Summer

Flounder, Scup, and Black Sea Bass Fishery Management Plan. 87 Fed. Reg. 68,925-01

(Nov. 17, 2022).

       Plaintiffs bring their challenge under the judicial review provision of the

Magnuson-Stevens Fishery Conservation and Management Act (“Act”), 16 U.S.C.

§ 1855(f), which provides in pertinent part that, “[u]pon a motion by the person who

files a petition under this subsection,” the court “shall assign the matter for hearing at

the earliest possible date and shall expedite the matter in every possible way.” Id.

§ 1855(f)(4).

       Congress provides petitioners expedited review for challenges brought under the

Act as a tradeoff for its unique disallowance of preliminary injunctive relief. Blue Water

Fishermen’s Ass’n v. Nat’l Marine Fisheries Serv., 158 F. Supp. 2d 118, 123–24 (D. Mass.

2001) (denying plaintiffs’ motion for preliminary injunction but noting that plaintiffs

were “not without immediate recourse, as the Magnuson-Stevens Act trades preliminary

relief for expedited review”) (citing 16 U.S.C. § 1855(f)(4)); see 16 U.S.C. § 1855(f)(1)(A)

(barring preliminary relief otherwise available under 5 U.S.C. § 705). Here, given that

Plaintiffs were not allowed to seek emergency relief, yet they are continuously harmed

by the Rule’s quota reductions of black sea bass and summer flounder, Lovgren Decl.




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(Dkt. 33-3) ¶¶ 33, 27; Lofstad Decl. (Dkt. 33-2) ¶¶ 6, 32–34, expedited treatment is

appropriate.

       The briefing on Plaintiffs’ motion for summary judgment, Docket No. 33, is now

complete. As for Defendants’ cross-motion, all that remains to be filed is the

government’s reply. Plaintiffs therefore respectfully request that, in accordance with the

Act, the Court expedite its ruling on these motions to the “earliest possible date,”

prioritizing these motions before other civil matters before the Court. See, e.g., Loper

Bright Enterprises, Inc. v. Raimondo, 544 F. Supp. 3d 82, 98 (D.D.C. 2021) (noting the court

granted Plaintiffs’ unopposed motion to expedite the case “in every possible way,”

pursuant to the MSA (simplified)); 16 U.S.C. § 1855(f)(4). Plaintiffs do not seek to alter

the briefing schedule, which was set by the Court in a prior order. Defendants do not

oppose this motion.

       DATED: June 29, 2023.
                                                  Respectfully submitted,
                                                  /s/ Jonathan M. Houghton
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                               Certificate of Service

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States District Court for the District of New Jersey by using the

CM/ECF system.

      I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system.

                                       /s/ Jonathan M. Houghton
                                       JONATHAN M. HOUGHTON




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